     Case 1:06-cv-00670-CKK Document 343 Filed 07/19/10 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

________________________________________________
LARRY KLAYMAN et al.,                            )
                                                 ) Civil Action No. 06‐CV‐00670 (CKK)
        Plaintiff,                               )
                                                 )
                        v.                       )
                                                 )
JUDICIAL WATCH, INC. et al,                      )
                                                 )
                                                 )
        Defendants.                              )
                                                 )
_______________________________________________ )

                                              )
ELHAM SATAKI,                                 )
                                              ) Civil Action No. 10‐0534 (CKK)
              Plaintiff,                      )
                                              )
       v.                                     )
                                              )
BROADCASTING BOARD OF                         )
GOVERNORS, et al.                             )
                                              )
              Defendants.                     )
                                              )
________________________________________________
ELHAM SATAKI,                                    )
                                                 ) Civil Action No. 10‐CV‐00466 (CKK)
        Plaintiff,                               )
                                                 )
                        v.                       )
                                                 )
MEHDI FALAHATI, et al.,                          )
                                                 )
        Defendants.                              )
                                                 )
_______________________________________________ )

 _________________________________________PRAECIPE________________________________________




                                                                                             1
     Case 1:06-cv-00670-CKK Document 343 Filed 07/19/10 Page 2 of 2




       This is to advise the court that new information and analysis has come to

light and that Plaintiffs and their counsel in the above styled cases will be fling

motions to disqualify the presiding judge, Colleen Kollar‐Kotelly, on or before

Tuesday, July 20, 2010, under 28 U.S.C. 144.

                                            Respectfully submitted,



                                            Larry Klayman///______
                                            Larry Klayman, Esquire
                                            D.C. Bar No. 334581
                                            The Klayman Law Firm
                                            Attorneys for Plaintiff
                                            2000 Pennsylvania Avenue, N.W.
                                            Suite 345
                                            Washington, DC 20006
                                            310‐595‐0800




                                                                                      2
